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AO 91 (Rev. ll/ll) Criminal Complaint

UNITED STATES DISTRICT CoURT '§%Wé°`r§§§§§§r§§"s"
r» he
f° t MAR 25 2019_

Southern District of Texas

 

 

 

United States of America ) David J' gradleyl Cl€i’k
v. l)
lVlarvin Abel Lopez-Villanueva ) Case NO' M d / q O(d g 7 M
Citizen of Honduras )
YOB: 1989 )
)
)
Dej%ndant(s)
' CRIMlNAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of lVlarch 26, 2019 , in the county of HidalQO in the
Southem District of Texas , the defendant(s) violated: '
Coa’e Section Ojj%nse Description
Title 18 USC, Section 111(b) ` Whoever in the commission of any acts described in subsection (a)l uses a
deadly or dangerous weapon (including a weapon intended to cause death or
C F¢I QA danger but that fails to do so by reason of a defective component) or inflicts
7 bodily injury

This criminal complaint is based on these facts:

See Attachment A

E{ Continued on the attached sheet.

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Joshua J. Swims, Special Agent, FBI

Printed name and title

 

 

Sworn to before me and signed in my presence.

Date: M§_z -' ;3//(’°'\ //` §d-q/v~v/<;?

Judge’ s signature

City and State; lV|cAllen, Texas Peter E. Ormsby, United States |V|agistrate Judge

Printed name and title

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Attachment ”A”
Affidavit
l
|, Joshua J. Swims, being duly sworn, do herby depose and state:

| am a Special Agent (SA) with the Federa| Bureau of investigation (FBl) in lVchl|en, Texas
and have been employed in that capacity for over 15 years. l am currently assigned to
the violent crime squad and my duties include, but are not limited to, assaults on federal
officers, bank robbery, and kidnapping matters.

. The information contained in this affidavit is based on the investigation conducted by
SAs of the FBl, along with Border Patrol personnel.

On l\/larch 26, 2019, at approximately 4:45 Al\/l, l\/|arvin Abel Lopez-Villanueva was being
held at the Border Patrol Central Processing Facility located in l\/chllen, Texas. Lopez-
Villanueva, a Honduran national, climbed out of a chain link holding cell, and obtained a
mop with a wooden handle. Lopez-Vi|lanueva broke the wooden handle of the broom
and wielded the broom as a weapon as Agents attempted to apprehend Lopez-
Vi|lanueva .

During the incident, Lopez-Vi||anueva lowered the broken mop handle and attempted to
spear BPA\ E.C. with the splintered end. BPA E.C. was able to deflect the splintered end
of the mop handle with his hands. Several responding Agents restrained and
handcuffed Lopez-Vi|lanueva. BPS E.C. was taken to the hospital and treated for
lacerations to his hands.

Lopez-Vi|lanueva was interviewed following the incident and admitted to jumping`over
the fence, grabbing a broom and breaking the handle over his knee. Lopez-Villanueva

' stated that he was trying to escape and attempted to stab BPA E.C. in the ribs with the
broken broom stick. l l l
Based on the above information, your Affiant believes there is probable cause to
indicate that l\/larvin Abel Lopez-Vil|anueva assaulted BPA E.C. on l\/larch 26, 2019 in
violation of Title 18 United States Code, Section 111(b), Assau|ting a Federa| Officer.

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(/J;l§huaj ims’L/
' Speci gent
Federal Bureau of investigation

Sworn to and subscribed before me this 26th day Of l\/larch 2019

/<{;/:z

l"eter E. Ormsby
United States |V|agistrate Judge

  
 

